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                              UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF PENNSYLVANIA


KENNETH J. TAGGART,
                                            :       Case No. 22-cv-00990-JMY
                 Appellant                  :
                                            :
        v.                                  :
                                            :
NEW CENTURY FINANCIAL                       :
SERVICES, INC. et al.                       :
                                            :
                 Appellee                   :


                                            ORDER

        AND NOW, this 23rd day of August 2023, upon consideration of Appellant’s Motions

for Enlargement of Time (ECF Nos. 8 and 15), and in light of the response and reply filed to

both Motions, (See ECF Nos. 9 and 17), it is ORDERED that the Motions are DENIED as

moot.

   IT IS SO ORDERED.



                                                    BY THE COURT:

                                                    /s/ Judge John Milton Younge

                                                            Judge John Milton Younge
